        Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 1 of 48




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- X
MELINDA SERIN, JUDSON RUSS, LONG SOUI LIM,                            :
PERI KETTLER, GORDON REDNER, AND THOMAS                               :
J. SMITH,                                                             :   06 CV 1625 (SCR)
                                                                      :
                                             Plaintiffs,              :
                                                                      :
                  -against-                                           :
                                                                      :
NORTHERN LEASING SYSTEMS, INC., JAY                                   :
COHEN, RICH HAHN, and SARA KRIEGER,                                   :
                                                                      :
                                             Defendant.               :
--------------------------------------------------------------------- X




                   MEMORANDUM OF LAW IN SUPPORT OF
         DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE THE TESTIMONY
             OF PLAINTIFFS’ DAMAGE EXPERT, DR. STAN V. SMITH




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845734 011082.0121
          Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 2 of 48




                                                  TABLE OF CONTENTS

                                                                                                                                      Page

PRELIMINARY STATEMENT ................................................................................................... 1
STATEMENT OF FACTS ............................................................................................................ 3
SUMMARY OF ARGUMENT ..................................................................................................... 3
          A.         Loss of Time Spent ................................................................................................ 3
          B.         Loss of Credit Expectancy ..................................................................................... 4
          C.         Additional Cost of Mortgage ................................................................................. 5
          D.         Lost Business Profits.............................................................................................. 6
          E.         Reduction In Value Of Life (“RVL”) .................................................................... 6
ARGUMENT................................................................................................................................. 7
I.        PLAINTIFFS’ EXPERT OPINES ON DAMAGES THAT ARE NOT
          AVAILABLE UNDER RICO OR SECTION 349............................................................ 7
          A.         Purported Damages For Loss Of Time Spent, Reduced Value Of Life, And
                     Loss Of Credit Expectancy Are Not Recoverable Under RICO............................ 7
          B.         Damages For Loss Of Time Spent, Loss Of Credit Expectancy And RVL
                     Are Not Recoverable Under Section 349............................................................... 9
          C.         Damages For Injuries That Were Allegedly Incurred Prior To February 24,
                     2003 Are Not Recoverable Under Section 349.................................................... 12
                     1.         Serin’s Claims for Loss of Time Spent, Loss of Credit Expectancy,
                                and RVL................................................................................................... 13
                     2.         Russ’s Claims For Payments Made To Northern Leasing, Loss Of
                                Credit Expectancy, Loss of Time Spent And RVL.................................. 13
                     3.         Lim’s Claims for Payments Made to Northern Leasing, Loss of
                                Time Spent, Loss of Credit Expectancy, and RVL.................................. 14
II.       EVEN IF THE DAMAGES THAT PLAINTIFFS SEEK TO RECOVER WERE
          AVAILABLE UNDER RICO AND SECTION 349, DR. SMITH’S
          TESTIMONY REGARDING SUCH DAMAGES SHOULD BE EXCLUDED
          UNDER RULES 702 AND 403 OF THE FEDERAL RULES OF EVIDENCE
          AND DAUBERT ............................................................................................................. 15
          A.         The Standard for Exclusion of Expert Witness Testimony ................................. 15
          B.         Dr. Smith’s Opinions About The Reduction In The Value Of Life Should
                     Be Excluded ......................................................................................................... 17
                     1.         Reduced Value Of Life Is Irrelevant To A Calculation Of
                                Compensatory Damages .......................................................................... 17


845734 011082.0121                                                    i
          Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 3 of 48




                     2.         Dr. Smith’s Methodology Of Calculating RVL Damages Is
                                Unreliable................................................................................................. 20
                                (i)        No Acceptance In The Scientific Community ............................. 23
                                (ii)       Dr. Smith’s Methods Cannot Be Tested. ..................................... 25
                     3.         Dr. Smith’s Opinions Should Be Excluded Because He Is Not An
                                Expert In The “Value Of Life” ................................................................ 27
          C.         Dr. Smith’s Testimony Regarding Plaintiff Russ’ Loss Of Business Profits
                     Is Unreliable And Inadmissible ........................................................................... 27
                     1.         Dr. Smith’s Methodology For Determining Lost Business Profits
                                Has Not Been Tested ............................................................................... 30
          D.         Dr. Smith’s Opinions On Lost Credit Expectancy (“LCE”) Should Be
                     Excluded .............................................................................................................. 30
          E.         Dr. Smith’s Calculations As To Plaintiff Smith’s “Additional Cost of
                     Mortgage” Should Be Excluded .......................................................................... 35
          F.         Dr. Smith’s Opinions As To Loss Of Time Spent Should Be Excluded ............. 37
          G.         Dr. Smith’s Opinion About The Loss Of Payments Made To Northern
                     Leasing Should Be Stricken................................................................................. 38
CONCLUSION............................................................................................................................ 39




845734 011082.0121                                                    ii
         Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 4 of 48




                                             TABLE OF AUTHORITIES

                                                                                                                              Page
                                                    FEDERAL CASES

Amorgianos v. Nat’l R.R. Passenger Corp.,
      303 F.3d 256 (2d Cir. 2002).........................................................................................16, 17

Anderson v. Hale,
      No. CIV-02-0113, 2002 WL 32026151 (W.D. Okla. Nov. 4, 2002).................................24

Anza v. Ideal Steel Supply Corp.,
       547 U.S. 451 (2006).....................................................................................................32, 36

Arista Records LLC v. Usenet.com, Inc.,
       608 F. Supp. 2d 409 (S.D.N.Y. 2009)........................................................................ passim

Ayers v. Robinson, et al.,
       887 F. Supp. 1049 (N.D. Ill. 1995) ............................................................................ passim

Baker v. Urban Outfitters, Inc.,
       254 F. Supp. 2d 346 (S.D.N.Y. 2003)..........................................................................16, 33

Birdsell v. Bd. of Fire and Police Comm'rs,
       No. 85-3371, 1990 U.S. Dist. LEXIS 14961 (C.D. Ill., Oct. 16, 1990).............................24

Boucher v. Suzuki Motor Corp.,
      73 F.3d 18 (2d Cir. 1995) ................................................................................16, 20, 30, 38

Bramlette v. Hyundai Motor Co.,
      No. 91 C 3635, 1992 WL 213956 (N.D. Ill., Aug. 28, 1992)............................................24

Brereton v. United States,
       973 F. Supp. 752 (E.D. Mich. 1997)..................................................................................23

Buckhalter v. Burlington Northern,
      Civ. A. No. EC90-139-D-D, 1992 WL 236676 (N.D. Miss. Mar. 23, 1992) ....................24

Buyers and Renters United to Save Harlem v. Pinnacle Group NY LLC,
       575 F. Supp. 2d 499 (S.D.N.Y. 2008)................................................................................12

Callaghan v. Jacobs,
       No. 08 Civ. 03523, 2010 WL 1222048 (S.D.N.Y. March 5, 2010).....................................8




845734 011082.0121                                               iii
         Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 5 of 48




Carroll v. United States,
       295 Fed. Appx. 382, 386 (2d Cir. 2008)..............................................................................8

Cayuga Indian Nation v. Pataki,
      83 F. Supp. 2d 318 (N.D.N.Y. 2000).................................................................................16

Celebrity Cruises, Inc. v. Essef Corp.,
       434 F. Supp. 2d 169 (S.D.N.Y. 2006)........................................................................ passim

Compania Embotelladora Del Pacifico, S.A. v. Pepsi Cola Co.,
     650 F. Supp. 2d 314 (S.D.N.Y. 2009)....................................................................20, 35, 38

Craft v. Matlack, Inc.,
        Civ. A. No. 91-2465, 1992 WL 124406 (E.D. La. May 26, 1992)....................................24

Crespo v. City of Chicago,
      No. 96 C 2787, 1997 WL 537343 (N.D. Ill., Aug 22., 1997)............................................23

Daubert v. Merrell Dow Pharmaceuticals, Inc.,
      509 U.S. 579 (1983)................................................................................................... passim

Davis v. ROCOR International,
       226 F. Supp. 2d 839 (S.D. Miss 2002)...............................................................................23

Doe v. Tag, Inc.,
       No. 92 C 7661, 1993 WL 484212 (N.D. Ill Nov. 18, 1993)..............................................23

DuBose v. City of San Diego,
      No. 99cv2279-L, 2002 WL 34408963 (S.D. Cal. Oct. 1, 2002)........................................23

Gary Price Studios, Inc. v. Randolph Rose Collection, Inc.,
      No. 03 Civ. 969, 2006 WL 1319543 (S.D.N.Y. May 11, 2006)............................19, 34, 36

Gen. Elec. Co. v. Joiner,
       522 U.S. 136 (1997).....................................................................................................16, 22

Gristede’s Foods Inc. v. Unkechauge Nation,
       532 F. Supp. 2d 439 (E.D.N.Y. 2007) ...............................................................................13

Harris and Lee v. United States,
       Civ. No. 06-0412, 2007 WL 4618597 (D.N.M. June 7, 2007) ..........................................23

Hein v. Merck & Co.,
       868 F. Supp. 230 (M.D.Tenn. 1994)......................................................................23, 24, 25

Jaegly v. Couch,



845734 011082.0121                                               iv
         Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 6 of 48




          439 F.3d 149 (2d Cir. 2006).................................................................................................8

Joy v. Bell Helicopter Textron,
        999 F.2d 549 (D.D.C. 1993) ..............................................................................................16

Kumho Tire Co., Ltd. v. Carmichael,
     526 U.S. 137 (1999)...........................................................................................................16

Kurncz v. Honda North America,
      166 F.R.D. 386 (W.D. Mich. 1996) ........................................................................... passim

Livingston v. United States,
       817 F. Supp. 601 (E.D.N.C. 1993)...............................................................................19, 24

Major League Baseball Props., Inc. v. Price,
      105 F. Supp. 2d 46 (E.D.N.Y. 2000) ...................................................................................7

Martinez v. Caterpillar, Inc.,
       Civ. No. 06-236, 2007 WL 5377515 (D.N.M. Sept. 6, 2007) ...........................................23

McGuire v. Santa Fe,
      954 F. Supp. 230 (D.N.M. 1996) .......................................................................................23

McMullin v. United States,
     515 F. Supp. 2d 914 (E.D. Ark. 2007)...............................................................................23

Mercado v. Ahmed,
      974 F.2d 863 (7th Cir. 1992) ...........................................................................19, 22, 24, 26

Mercado v. Ahmed, et al.,
      756 F. Supp. 1097 (N.D. Ill. 1991) ....................................................................................23

Moltner v. Starbucks Coffee Company,
      No. 08 Civ. 9257, 2009 WL 3573190 (S.D.N.Y. Oct. 23, 2009), aff’d, __ F.3d __,
      No. 09-4943-cv, 2010 WL 4291299 (2d Cir. Nov. 2, 2010) .............................................16

Nimely v. City of New York,
       414 F.3d 381 (2d Cir. 2005)...............................................................................................35

Park West Radiology, et al., v. Carecore Nat'l., LLC, et al.,
      675 F. Supp. 2d 314 (S.D.N.Y. 2009)................................................................................20

Robinson v. Sanctuary Record Groups, Ltd.,
      542 F. Supp. 2d 284 (S.D.N.Y. 2008), rev’d on other grounds, Nos. 08-2078-cv,
      08-2320-cv, 08-2333-cv, 2010 WL 2649849 (2d Cir. July 1, 2010) ......................... passim




845734 011082.0121                                                v
         Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 7 of 48




Rowe Entertainment, Inc., et al. v. The William Morris Agency, Inc., et al.,
      No. 98 CIV 8272, 2003 WL 22124991 (S.D.N.Y. 2003) .......................................... passim

Saia v. Sears Roebuck and Co., Inc.,
        47 F. Supp. 2d 141 (D.Mass. 1999) ........................................................................... passim

Spinale v. United States et. al.,
       No. 03Civ.1704, 2004 WL 50873 (S.D.N.Y. Jan. 9, 2004).................................................7

Sullivan v. U.S. Gypsum Co.,
       862 F. Supp. 317 (D. Kan. 1994)...........................................................................19, 23, 26

Supply & Building Co. v. Estee Lauder Int’l, Inc.,
       95 CIV. 8136, 2001 WL 1602976 (S.D.N.Y. Dec. 14, 2001) .............................................7

United States v. Roldan-Zapata,
       916 F.2d 795 (2d Cir. 1990)...............................................................................................16

Williams v. The Dow Chemical Co.,
       255 F. Supp. 2d 219 (S.D.N.Y. 2003)..................................................................................7

                                                      STATE CASES

Anderson v. Neb. Dep’t of Social Servs.,
      248 Neb. 651 (Neb. 1995)..................................................................................................24

Ashland Management, Inc. v Janien,
      82 N.Y.2d 395 (1993) ........................................................................................................28

Baron v. Pfizer, Inc.,
       42 A.D.3d 627, 840 N.Y.S.2d 445 (3d Dep't 2007)...........................................................10

Chustz v. J.B. Hunt Transp. Inc.,
       659 So.2d 784 (La. App. 1 1995).......................................................................................24

Fetzer v. Wood,
       569 N.E.2d 1237 (Ill. App. 2d 1991) .................................................................................24

Foster v. Trafalgar,
       603 So. 2d 284 (La. App. 2d 1992)....................................................................................24

Gaidon v. Guardian Life Ins. Co.,
      96 N.Y.2d 201 (2001) ..................................................................................................12, 13

Kassis Mgmt. Inc. v. Verizon New York, Inc.,
       No. 104736/2008, 2010 WL 4026388 (N.Y. Sup. Ct. Aug. 18, 2010) ..............................10



845734 011082.0121                                               vi
          Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 8 of 48




Longman v. Allstate Ins. Co.,
     635 So.2d 343 (La. App. 4 Cir. 1994) ...............................................................................24

Loth v. Truck-A-Way Corp.,
        60 Cal. App. 4th 757 (Cal. Ct. App. 1998) ........................................................................24

Montalvo v. Lapez,
      884 P.2d 345 (Hawaii 1994) ..............................................................................................24

Patch v. Glover,
       618 N.E.2d 583 (Ill. App. Ct. 1993) ..................................................................................24

Scharrel v. Wal-Mart Stores,
       949 P.2d 89 (Colo. App. 1997) ..........................................................................................24

Small, et al., v. Lorillard Tobacco Co., Inc.,
       94 N.Y.2d 43 (1999) ............................................................................................................9

Smith, et al., v. Chase Manhattan Bank, USA, N.A., et al.,
        293 A.D.2d 598, 741 N.Y.S.2d 100 (2d Dep't 2002).........................................................10

South Lake Limousine and Coach, Inc. v. Brock,
       578 N.E.2d 677 (Ind. Ct. App. 1991).................................................................................24

Tall v. Nebraska Dep’t Social Serv.,
        541 N.W.2d 30 (Neb. 1995)...............................................................................................24

Vigiletti v. Sears, Roebuck & Co.,
        42 A.D.3d 497, 838 N.Y.S.2d 786 (2d Dep’t 2007) ..........................................................10

Wilt v. Buracker,
        443 S.E.2d 196 (W. Va. 1993), cert. denied 114 S.Ct. 2137 (1993) .................................24

                                             FEDERAL STATUTES
18 U.S.C. § 1962 .............................................................................................................................2

18 U.S.C. § 1964..........................................................................................................................2, 7

Fed.R.Evid. 403 .........................................................................................................................3, 20

Fed.R.Evid. 702 ..................................................................................................................... passim

                                         STATE STATUTES
N.Y. Gen. Bus. Law § 349...................................................................................................9, 10, 13




845734 011082.0121                                                   vii
         Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 9 of 48




                            SECONDARY AUTHORITIES
Thomas Havrilesky, The Misapplication of the Hedonic Damages Concept to Wrongful
     Death and Personal Injury Litigation, 6 J. Forensic Econ. 93 (1993)...............................24

T.R. Miller, The Plausible Range for the Value of Life – Red Herrings Among the
      Mackerel, 3 J. Forensic Econ. (no. 3), 17-39 (Fall 1999) ..................................................24

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      J. Forensic Econ. 111, 118 (2000) .....................................................................................26

W.K. Viscusi, The Flawed Hedonic Damages Measure of Compensation from Wrongful
      Death and Personal Injury, 20 J. Forensic Econ. 113, 117-118 (2007) ............................26

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      Econ. (no. 3), 61, 69 (Fall 1999)........................................................................................26




845734 011082.0121                                            viii
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 10 of 48




                                  PRELIMINARY STATEMENT

        Defendants, Northern Leasing Systems, Inc. (“Northern Leasing”), Jay Cohen, Rich

Hahn, and Sara Krieger (collectively, the “Defendants”), by their attorneys Moses & Singer LLP,

submit this memorandum in support of Defendants’ motion in limine to exclude the expert

testimony and reports of Dr. Stan V. Smith (“Dr. Smith”), under Rules 702 and 403 of the

Federal Rules of Evidence, and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579,

589 (1983) and its progeny.

        Dr. Smith has provided opinions on various categories of alleged by Plaintiffs Melinda

Serin (“Serin”), Judson Russ (“Russ”), Long Soui Lim (“Lim”), Gordon Redner (“Redner”), and

Thomas J. Smith (“Smith”) (collectively, the “Plaintiffs”).1 Specifically, Dr. Smith opines on the

following categories of alleged damages: (i) the loss of payments made to Northern Leasing2; (ii)

the loss of time spent3; out of pocket expenses4; (iii) the loss of business profits5; (iv) the loss of




        1
          The report for each Plaintiffs is hereinafter referred to as: the “Redner Report,” the
“Serin Report,” the “Russ Report,” the “Lim Report,” and the “Smith Report.” They are
annexed to the accompanying Declaration of Robert D. Lillienstein, as Exhibits A (Redner), B
(Serin), C (Russ), D (Lim) and E (Smith). Annexed to each report are the work notes and
interview notes that accompanied each report.
        2
            Dr. Smith calculates this loss for Lim, Redner and Russ.
        3
            Dr. Smith calculates this loss for Lim, Redner, Russ, Serin and Smith.
        4
            Dr. Smith calculates this loss for Russ and Serin.
        5
            Dr. Smith calculates this loss for Russ.




845734 011082.0121                                 1
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 11 of 48




credit expectancy6; (v) the additional cost of mortgage7; and (vi) the reduction in value of life

(“RVL”), also known as loss of enjoyment of life or “hedonic damages.”8

        Dr. Smith’s expert reports and testimony should be excluded in their entirety for several

different reasons. Certain of these damages are not available under the statutes that form the

basis of the Plaintiffs’ causes of action (18 U.S.C. § § 1962, 1964 – hereinafter referred to as

“RICO”, and New York General Business Law § 349 – hereinafter referred to as “Section

349”).9 RICO only permits recovery of damage to a plaintiff’s business or property. Several of

the categories of damages on which Dr. Smith gives an opinion do not fit this criteria. Section

349 permits recovery only for actual measurable losses incurred by plaintiffs. RVL, loss of time

spent, and loss of credit expectancy do not fit that criteria. Further, some of the losses about

which Dr. Smith opines took place prior to February 24, 2003, and are therefore time barred

under the applicable statute of limitations for Section 349. With respect to all of these

unrecoverable losses, there is no basis for admitting Dr. Smith’s testimony or reports.

        Moreover, even if such damages were available under RICO and Section 349, Dr.

Smith’s reports and testimony should be excluded because many of the categories of loss on

which Dr. Smith opines address only theoretical losses, without any regard to whether a


        6
            Dr. Smith calculates this loss for Lim, Redner, Russ and Serin.
        7
            Dr. Smith calculates this loss for Smith.
        8
         Dr. Smith calculates this loss for all five plaintiffs about whom he has given a report.
Dr. Smith has not provided a report for Plaintiff Peri Kettler. Ms. Kettler failed to appear for a
deposition, and Plaintiffs’ counsel has indicated that they do not intend to present any evidence
in support of her claims. Defendants will be moving in limine to preclude Plaintiffs from
presenting any evidence regarding Plaintiff Kettler.
        9
         Plaintiffs are seeking damages in the form of compensatory, treble and/or punitive
damages, together with attorneys’ fees and expenses. Am. Com. ¶¶ 1, 123-136. The Plaintiffs
have not pled a claim for any hedonic damages incurred as a result of the alleged violations.



845734 011082.0121                                 2
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 12 of 48




particular Plaintiff actually sustained an actual, measurable loss. His opinions are riddled with

numerous, speculative assumptions for which there is no evidentiary support whatsoever. Dr.

Smith’s reports eschew the need to base his opinions on actual facts or actual losses. In most

cases, his opinions rely entirely on one telephone interview that one of his employees conducted

with each Plaintiff. He was not provided with, and therefore did not review, any of the Plaintiffs

depositions in this case, and he relied on virtually no documentary evidence to support most of

his opinions in this case, including his opinions concerning RVL and loss of business profits –

two of the largest losses that he calculates. These opinions do not pass muster under Rule 702,

and in many cases, also warrant exclusion under Rule 403 because their prejudicial value

outweighs their limited probative value.10

                                   STATEMENT OF FACTS

        The facts pertinent to this motion are contained in Dr. Smith’s expert reports, the rebuttal

expert report of Dr. Christopher Erath, and in the transcript of Dr. Smith’s deposition, which was

taken on October 29, 2010. All of these documents are annexed as Exhibits to the Declaration of

Robert D. Lillienstein, which is submitted herewith.

                                 SUMMARY OF ARGUMENT

A.      Loss of Time Spent

        In giving his opinion as to the value of “loss of time spent” in dealing with Northern

Leasing, Dr. Smith does not purport to address actual monetary losses incurred by any Plaintiff.

Rather, Dr. Smith’s reports calculate the loss of time spent by taking each Plaintiff’s



        10
                Federal Rule of Evidence 403 bars the admission of relevant evidence “if its
probative value is substantially outweighed by the danger of unfair prejudice, confusion of the
issues, or misleading the jury, or by considerations of undue delay, waste of time, or needless
presentation of cumulative evidence.” Fed.R.Evid. 403.



845734 011082.0121                               3
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 13 of 48




guess/estimate11 of the number of hours spent, whether or not the time allegedly spent caused

any Plaintiff to lose income. He then simply multiplies each Plaintiff’s estimate by the “median

wages of the average of Office Clerks and Payroll and Timekeeping Clerks” in whatever State

that particular Plaintiff resided. Dr. Smith explains that his use of the same wage rate in all cases

is justified because he did not attempt to value the time spent by the actual plaintiffs. His

calculation is intended to ascribe a value to the costs that each Plaintiff would have incurred had

they hired a clerk to deal with Northern Leasing, even though no plaintiff claims to have hired a

clerk. He thus concedes that his opinion is not addressed to the actual losses sustained by each

Plaintiff. For these reasons, Dr. Smith’s opinion on the loss of time spent is both speculative,

and unrelated to any issue that the jury will be asked to decide in this case.

B.      Loss of Credit Expectancy

        Dr. Smith’s “loss of credit expectancy” calculations also do not attempt to give an

opinion as to losses actually sustained by any plaintiff, for example, in the form of additional

borrowing costs that any Plaintiff actually incurred. In three of the four cases on which Dr.

Smith offered an opinion, Dr. Smith was not provided any evidence of increased borrowing

costs, and in one case (Lim), he actually disregarded the scant evidence that he had. His

opinions give hypothetical calculations of potential loss of ability to borrow, which he concocts

based on little more than a guess/estimate as to what each plaintiff could have borrowed12,

        11
          According to Dr. Smith’s reports, Melinda Serin told Dr. Smith’s assistant that she
spent between 100 and 200 hours trying to resolve her issues with Northern Leasing. Exh. B,
p.2. Lung Lim supposedly said that he spent between 200 and 250 hours. Exh. D, p.3. This
wide range of unsubstantiated estimates is further evidence of the speculative nature of Dr.
Smith’s opinions.
        12
            This guess/estimate is based on little more than what each Plaintiff told Dr. Smith’s
employee he or she earned in a particular year. Incredibly, Dr. Smith’s report for Melinda Serin
states that he also estimated her potential borrowing power on her “intent to purchase a condo
and obtain credit cards.” Exh. B.


845734 011082.0121                                4
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 14 of 48




multiplied by his guess/estimate as to what the additional interest costs each plaintiff would have

paid if they had attempted to borrow to the limits of their estimated borrowing power. Basing his

calculation on no evidence whatsoever, and without even purporting to tie his opinions to the

particular situation of any plaintiff, Dr. Smith’s opinions assume that each Plaintiff would have

had increased borrowing costs of 13% per annum in all cases, and then calculates a potential

loss. This calculation is so speculative, and so divorced from reality, that to allow it to be stated

to a jury would be highly prejudicial, with no probative value.

C.      Additional Cost of Mortgage

        In his calculation of the “additional cost of mortgage” for Plaintiff Smith, who allegedly

told Dr. Smith’s assistant that he was denied an attempt to refinance his existing 5.5% mortgage

at a 4.5% interest rate, Dr. Smith does claim to measure an actual loss. However, Dr. Smith’s

opinion is not based on any documentary evidence as to the amount of additional mortgage

interest that this Plaintiff allegedly paid, which would have been impossible because Plaintiffs

have produced no such evidence in discovery, and Dr. Smith was not provided with any such

evidence. Dr. Smith never saw Mr. Smith’s existing mortgage; he never saw any documents

showing that Mr. Smith made payments on that mortgage; he never saw any evidence of an

attempt to refinance; he never saw any evidence of the terms of the alleged refinancing attempt;

and he never saw any evidence that any such attempt was denied, or the reasons why. Without

any such evidence, Dr. Smith nevertheless gives an opinion of Mr. Smith’s potential loss,

assuming that any alleged damage to Mr. Smith’s credit will not be cured for the duration of Mr.

Smith’s 16.8 year life expectancy. This type of unsupported, speculative “expert” testimony is

not permitted under Rule 702.




845734 011082.0121                                5
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 15 of 48




D.      Lost Business Profits

        Dr. Smith’s opinion regarding Mr. Russ’ alleged loss of business profits is probably the

most speculative, and the least grounded in fact. In that case, Dr. Smith gives an opinion as to

the lost business profits sustained by Mr. Russ, who claims that he was denied the opportunity to

purchase three check cashing locations due to negative marks on his credit report caused by

Northern Leasing. In forming his opinion, Dr. Smith made no independent review of the

proposed transactions that were allegedly described to Dr. Smith’s assistant during a telephone

interview. Dr. Smith simply adopted and essentially repeated the projection made by Mr. Russ

(that two of the stores would generate $72,000 in profit and the third would generate $25,000 per

year in profit). Dr. Smith did not opine as an economist, but is simply repeating Plaintiff’s

position. Dr. Smith did not review or analyze, or even ask for one financial record concerning

Mr. Russ’ existing stores, or the stores that he allegedly sought to acquire. He did not review a

tax return, a financial statement or any books or records of either business. Moreover, his entire

expert opinion is fatally undermined by the fact that he did not even consider or factor in the cost

of the acquisition. As he grudgingly conceded at his deposition, Dr. Smith’s opinion therefore

does not address lost profits at all; it is nothing more than a regurgitation of the amount of cash

flow that Mr. Russ claims he would have earned. This is precisely the type of “expert”

testimony that the court must exclude because of the likelihood that jury will be unduly

influenced by Dr. Smith’s pedigree, without regard to the fact that he is merely repeating what he

was told by the Plaintiff. Dr. Smith’s reports and testimony are incapable of “assisting the trier-

of-fact”, as required by Rule 702 of the Federal Rules of Evidence.

E.      Reduction In Value Of Life (“RVL”)

        Dr. Smith’s opinions on RVL damages should be excluded because they are purely

theoretical calculations that address the value of an anonymous statistical life, and do not purport


845734 011082.0121                                6
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 16 of 48




to value the lives of the five individuals who are the Plaintiffs in this case. Dr. Smith’s opinions

in this regard fail to satisfy the “Daubert” standards and Rule 702 of the Federal Rules of

Evidence. While Dr. Smith’s reports go to great lengths to establish the credibility and

applicability of RVL damages, his reports misrepresent the authorities that he cites, and fail to

acknowledge that his theory of RVL damages is based on highly questionable, discredited

methodologies. This has been confirmed in numerous court decisions, many of which excluded

Dr. Smith’s own opinions. The authorities on which Dr. Smith relies confirm that such methods,

which only value a statistical, anonymous life, have no place in determining the type of injury to

business recoverable under RICO or the GBL, or the value of the specific lives of the Plaintiffs

in this case, or compensatory damages. Accordingly, because Dr. Smith’s opinions regarding

RVL damages are neither relevant nor reliable, they, too, must be excluded.

                                          ARGUMENT

                                                 I.

                      PLAINTIFFS’ EXPERT OPINES ON DAMAGES THAT
                     ARE NOT AVAILABLE UNDER RICO OR SECTION 349

        Dr. Smith opines on various types of damages allegedly incurred by the Plaintiffs. Many

of these damages, however, are not available under RICO or Section 349. Therefore, any

testimony by Dr. Smith as to such damages is not relevant, and should be excluded under Rules

702 and 403 of the Federal Rules of Evidence.

A.      Purported Damages For Loss Of Time Spent, Reduced Value Of Life,
        And Loss Of Credit Expectancy Are Not Recoverable Under RICO

        RICO permits recovery only for injury to a Plaintiff’s business or property. 18 U.S.C. §

1964(c). Damages allegedly arising from reduced value of life, loss of time spent, and loss of

credit expectancy are not injuries to business or property, and are not recoverable.




845734 011082.0121                                7
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 17 of 48




        It is well established that damages for personal injuries are not recoverable under civil

RICO. Spinale v. United States et. al., No. 03Civ.1704, 2004 WL 50873, at *10 (S.D.N.Y. Jan.

9, 2004) (“Courts have uniformly held that damages for personal injuries and emotional distress

are not recoverable under RICO…. Thus, [plaintiff] cannot recover damages for any physical or

emotional injuries he may have sustained as a result of the alleged RICO violations.” (internal

citations omitted)); Williams v. The Dow Chemical Co., 255 F. Supp. 2d 219, 225 (S.D.N.Y.

2003) (“RICO provides recovery for injury to business and property; it does not provide recovery

for physical and emotional injuries.”); Major League Baseball Props., Inc. v. Price, 105 F. Supp.

2d 46, 49 (E.D.N.Y. 2000) (“Congress enacted RICO ‘to combat organized crime not to provide

a federal cause of action and treble damages’ for personal injuries.”).

        Damages for reduced value of life are not available under RICO because such damages

are ordinarily an element of pain and suffering in cases involving personal injuries. See Carroll

v. United States, 295 Fed. Appx. 382, 386 (2d Cir. 2008) (“[T]he district court did not err in

failing to award damages for loss of enjoyment of life because New York does not permit such

an award separate from the pain and suffering awarded”) (citing McDougald v. Gurber, 73

N.Y.2d 246. 256-57 (1989)). Indeed, Dr. Smith conceded that such damages are not damages to

business or property at his depositions. Exh. F (Smith Depo. Tr.), p. 137).

        Claims for loss of time spent are also rooted in personal injury claims, not claims for

injury to a business or property. See, e.g., Jaegly v. Couch, 439 F.3d 149, 154 (2d Cir. 2006)

(loss of time compensable in action for false arrest); Callaghan v. Jacobs, No. 08 Civ. 03523,

2010 WL 1222048, at *4 (S.D.N.Y. March 5, 2010) (discussing loss of time in personal injury

case). Therefore, these damages are not available under RICO, and Dr. Smith’s opinion on such

damages is irrelevant and should be excluded. Daubert, 509 U.S. at 589.




845734 011082.0121                               8
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 18 of 48




        Dr. Smith opines that Plaintiffs Serin, Russ, Redner and Lim were damaged due to a loss

of credit expectancy. These opinions do not even purport to calculate any actual injury. Indeed,

Dr. Smith’s opinion states that they were damaged whether or not they tried to use the credit that

Dr. Smith speculates would have been available but for the Defendants’ alleged actions. Exh. B,

p. 3; Exh. C, p. 4; Exh. A, p. 3. Because his opinion does not address any real injury, let alone

an injury to business or property, Plaintiffs Serin, Russ, Lim and Redner do not have valid claims

for loss of credit expectancy under RICO.

B.      Damages For Loss Of Time Spent, Loss Of Credit Expectancy
        And RVL Are Not Recoverable Under Section 349

        Section 349 of the New York General Business Law permits “any person who has been

injured by reason of any violation of this section … to recover his actual damages….” N.Y.

G.B.L. §349(h) (2010) (emphasis added). Plaintiffs are precluded from recovering damages for

loss of time spent, loss of credit expectancy, and loss of enjoyment of life because these are

theoretical damages, which do not constitute actual damages or losses, as required by Section

349.

        It is well settled that absent proof of actual harm, a plaintiff may not recover damages

under Section 349. Small, et al., v. Lorillard Tobacco Co., Inc., 94 N.Y.2d 43, 55-56 (1999) (the

court of appeals affirmed the dismissal of plaintiffs’ claims because “[p]laintiffs’ definition of

injury is legally flawed. Their theory contains no manifestation of either pecuniary or ‘actual’

harm . . . .”); Smith, et al., v. Chase Manhattan Bank, USA, N.A., et al., 293 A.D.2d 598, 599-

600, 741 N.Y.S.2d 100, 102 (2d Dep’t 2002) (plaintiffs’ action was dismissed because, inter

alia, “the plaintiffs have not alleged, and cannot prove, any “actual injury” as is necessary under

General Business Law § 349”) (citations omitted); Kassis Mgm.t Inc. v. Verizon New York, Inc.,

No. 104736/2008, 2010 N.Y. Slip Op. 51761U, 2010 WL 4026388, at *8 (N.Y. Sup. Ct. Aug.



845734 011082.0121                                9
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 19 of 48




18, 2010) (granting summary judgment on plaintiff’s Section 349 claim due in part to plaintiff’s

failure to show that lost profits were “measured by reliable factors which go beyond mere

speculation … Much of the documentary evidence is not actually verifiable. Therefore, the court

must dismiss this action based on the lack of reasonable certainty in calculating the injury….”);

Baron v. Pfizer, Inc., 42 A.D.3d 627, 840 N.Y.S.2d 445, 448 (3d Dep’t 2007) (“In short, because

plaintiff failed to allege actual harm or that she sustained a pecuniary injury, Supreme Court

properly determined that she failed to state a claim under General Business Law § 349”);

Vigiletti v. Sears, Roebuck & Co., 42 A.D.3d 497, 498, 838 N.Y.S.2d 786 (2d Dep’t 2007)

appeal denied 9 N.Y.3d 818 (2008) (holding that plaintiffs failed to state a cause of action under

General Business Law § 349 because “[t]he complaint failed to allege that the plaintiffs and the

proposed class members had suffered actual injury as a result of the defendant’s allegedly

deceptive marketing”) (citations omitted).

        Regarding loss of time spent, Dr. Smith does not purport to value the amount of actual

losses incurred by any Plaintiff as a result of time spent addressing the Defendants’ alleged

actions. 13 Dr. Smith’s calculation is intended to assign a value to the costs that each Plaintiff

would have incurred had they hired a clerk to deal with the issues caused by Northern Leasing,

even though none of the plaintiffs claims to have hired a clerk. Exh. F (Smith Dep. Tr. p. 85-

86).14 He thus concedes that his opinions are not addressed to the actual losses sustained by each


        13
          For example, Dr. Smith ignored Plaintiffs' actual vocations when calculating damages
and even ignored the fact that some Plaintiffs were not even working during the times in
question. See, e.g., Exh. B (Serin Report), pp. 2-3.
        14
            Dr. Smith calculates the loss by taking each Plaintiff’s guess/estimate of the number
of hours spent, whether or not the time allegedly spent caused any Plaintiff to lose income, and
multiplying it by the “median wages of the average of Office Clerks and Payroll and
Timekeeping Clerks” in whatever that State that particular Plaintiff resided. (Exh. A, p.2-3; Exh.
B, p.2-3; Exh. C, p.2-3; Exh. D, p.2-3, Exh. E, p.2).



845734 011082.0121                               10
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 20 of 48




Plaintiff. The result is that his opinions do not address a loss that is recoverable under Section

349.

        Similarly, regarding claims arising from loss of credit expectancy, for four of the

Plaintiffs (Serin, Russ, Lim and Redner), Dr. Smith does not purport to give an opinion as to an

actual loss caused by damage to their credit. Rather, his opinions address a theoretical loss of

credit expectancy, which is based on highly speculative guesstimates as to each Plaintiff’s

“ability to borrow”, without regard to whether or not these Plaintiffs actually tried to borrow, and

without regard to whether they were either denied a loan, or were forced to pay increased

interest.

        Dr. Smith’s report on Redner is even further divorced from reality than the others

because it assigns a value to Redner’s loss of credit expectancy even though Mr. Redner “admits

to having credit problems in the past,” and to “not really using credit cards much.” (Exh. A, p.

2). And in the case of Lim, while Dr. Smith’s report states that Lim claims that he was denied an

opportunity to refinance a mortgage, the report further states that Mr. Lim “does not recall how

much he would have saved on his mortgage as a result.” Having no evidence of actual losses on

which to base his opinion, Dr. Smith nonetheless renders an opinion as to the value of a

theoretical loss to Mr. Lim’s credit expectancy, which is clearly not the same as the actual losses

Mr. Lim claims to have sustained.15

        Damages for RVL are not recoverable under Section 349 for the same reasons discussed

above – such damages are purely theoretical, and do not purport to measure actual loss to these

Plaintiffs. It is a creation of Dr. Smith’s. As described in further detail below, Dr. Smith

assigned to each Plaintiff a valuation of a statistical life that he calculated approximately twenty
        15
          Plaintiff Russ’ claim for loss of business profits is arguably related to his alleged
impaired credit. However, Dr. Smith elected to treat that claim separately, and we do as well.



845734 011082.0121                               11
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 21 of 48




years ago. Under Dr. Smith’s methodology, each statistical life has the exact same value, and

there is no need to tailor that value to the particular situation of any Plaintiff. Thus, he values all

five Plaintiffs’ lives at $4.2 million, and adjusts that figure only to take into account each

Plaintiff’s life expectancy and the Plaintiff’s own guess/estimate of the amount by which his or

her quality of life has been diminished. By definition, Dr. Smith’s “value of life” approach does

not measure these Plaintiffs’ actual losses, and may not be recovered under Section 349.

C.      Damages For Injuries That Were Allegedly Incurred Prior
        To February 24, 2003 Are Not Recoverable Under Section 349

        Certain of the Plaintiffs are barred from recovering some of their claimed damages

because they were allegedly sustained before February 24, 2003, and therefore, fall outside the

applicable statute of limitations. New York courts have determined that the three year statute of

limitations applicable to claims for fraud under New York Civil Procedure is applicable. Gaidon

v. Guardian Life Ins. Co., 96 N.Y.2d 201, 210 (2001). The statute of limitations begins to run

“upon injury by the deceptive act or practice i.e. when all of the factual circumstances necessary

to establish a right of action have occurred….” Buyers and Renters United to Save Harlem v.

Pinnacle Group NY LLC, 575 F. Supp.2d 499, 512 (S.D.N.Y. 2008) (holding that plaintiffs could

not assert claims that accrued more than three years prior to the filing of the complaint) (citations

omitted); Gristede’s Foods Inc. v. Unkechauge Nation, 532 F. Supp.2d 439, 453 (E.D.N.Y.

2007) (holding that plaintiffs were barred from asserting claims that arose prior to three years

before filing suit); Gaidon, 96 N.Y.2d at 209-10 (“Thus, accrual of a section 349(h) private right

of action first occurs when plaintiff has been injured by a deceptive act or practice violating

section 349.”). Specifically, the following damage claims are not recoverable under Section 349:




845734 011082.0121                                12
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 22 of 48




        1.       Serin’s Claims for Loss of Time Spent, Loss of Credit Expectancy, and RVL

        Dr. Smith opines that Plaintiff Serin was damaged for loss of time spent in each year

from 2002 through 2006. Exh. B, p. 3. Dr. Smith opined that Plaintiff Serin spent 30 hours each

year addressing the Defendants’ alleged actions. Any claims arising from time spent before

February 24, 2003 (three years before the date of the Original Complaint) are not recoverable

under Section 349. Dr. Smith should not be permitted to testify about any losses accruing prior

to February 24, 2003.

        Dr. Smith opines that Plaintiff Serin suffered from a loss of credit expectancy from

March 2002 through January 2006. Dr. Smith also opines that she suffered from a reduction in

the value of her life from March 1, 2002 through the projected remainder of her life (50 years).

To the extent such damages are cognizable, and they arose prior to February 24, 2003, they are

barred by the statute of limitations and Dr. Smith should not be permitted to testify as to those

damages.

        2.       Russ’s Claims For Payments Made To Northern Leasing, Loss Of Credit
                 Expectancy, Loss of Time Spent And RVL

        According to the Russ Report, Russ claims that he made payments to Northern Leasing

totaling $9,247 in 2001 and 2002. Exh. C, p. 2. Dr. Smith further opined that Russ was entitled

to damages for loss of credit expectancy for the period of November 1, 2002 through December

31, 2006. Any damages arising from November 1, 2002 through February 24, 2003, however,

are time barred, and Dr. Smith may not provide testimony regarding such damages.

        Moreover, Dr. Smith also opines that Mr. Russ is entitled damages for loss of time spent

and out of pocket expenses during the period of 2002 through 2006. Any such damages that

accrued before February 24, 2003, however, are barred by the statute of limitations, and Dr.

Smith may not provide testimony regarding such damages.



845734 011082.0121                              13
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 23 of 48




        Dr. Smith further opines that Russ is entitled damages for the reduced value of his life

beginning June 1, 2002 through the projected remainder of his life. Even assuming arguendo

that such damages are cognizable herein, the statute of limitations bars any such claim damages

occurring between June 1, 2002 through February 24, 2003, and Dr. Smith may not provide

testimony regarding such damages.

        3.       Lim’s Claims for Payments Made to Northern Leasing, Loss of Time Spent,
                 Loss of Credit Expectancy, and RVL

        According to the Lim Report, Lim claims to have made payments to Northern Leasing in

1998 totaling $189. Exh. D, p. 2. All of those payments were made prior to February 24, 2003.

These claims are time barred, and Dr. Smith should not be permitted to provide testimony

regarding such damages.

        Dr. Smith also opines that Lim suffered damages arising from loss of time spent from

2001 through 2006, which he estimates at forty hours each year. All such claims that arose prior

to February 24, 2003 are also time barred. Therefore, Dr. Smith should not be permitted to

testify regarding such damages.

        Similarly, Dr. Smith opines that Plaintiff Lim suffered damages from a reduced value of

life and loss of credit expectancy from May 2001 through the projected remainder of his life, and

May 2006, respectively. Even assuming such damages are cognizable, the statute of limitations

bars any such claims to the extent that the damages were incurred before February 24, 2003, and

Dr. Smith may not provide testimony regarding such damages.




845734 011082.0121                              14
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 24 of 48




                                                  II.

       EVEN IF THE DAMAGES THAT PLAINTIFFS SEEK TO RECOVER WERE
            AVAILABLE UNDER RICO AND SECTION 349, DR. SMITH’S
     TESTIMONY REGARDING SUCH DAMAGES SHOULD BE EXCLUDED UNDER
     RULES 702 AND 403 OF THE FEDERAL RULES OF EVIDENCE AND DAUBERT

A.      The Standard for Exclusion of Expert Witness Testimony

        The admissibility of expert testimony is governed by Federal Rule of Evidence 702,

which provides:

                 If scientific, technical, or other specialized knowledge will assist
                 the trier of fact to understand the evidence or determine a fact in
                 issue, a witness qualified as an expert by knowledge, skill,
                 experience, training, or education, may testify thereto in the form
                 of an opinion or otherwise.

In Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1983), the Supreme Court held

that trial courts must perform a gatekeeping function to ensure that scientific testimony “both

rests on a reliable foundation and is relevant to the task at hand. Id. at 597 (emphasis added). In

determining whether an expert’s testimony is reliable and relevant, courts should consider the

following factors: (i) whether the theory can and will be tested; (ii) whether the theory has been

subject to peer review and publication; (iii) whether there is a known or potential error rate; and

(iv) whether the theory has been generally accepted within the scientific community. Daubert,

509 U.S. at 593-94; see also Celebrity Cruises, Inc. v. Essef Corp., 434 F. Supp. 2d 169, 176

(S.D.N.Y. 2006).

        The Court, in its gatekeeping function, must ensure “that an expert, whether basing

testimony upon professional studies or personal experience, employs in the courtroom the same

level of intellectual rigor that characterizes the practice of an expert in the relevant field.”

Moltner v. Starbucks Coffee Co., No. 08 Civ. 9257, 2009 WL 3573190 (S.D.N.Y. Oct. 23, 2009),

aff’d, __ F.3d __, No. 09-4943-cv, 2010 WL 4291299 (2d Cir. Nov. 2, 2010) (quoting United



845734 011082.0121                                15
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 25 of 48




States v. Roldan-Zapata, 916 F.2d 795, 805 (2d Cir.1990) (internal quotation marks omitted).

The Supreme Court in Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137 (1999), made clear that

Rule 702 applies to all types of expert testimony based on technical or other specialized

knowledge, not only scientific testimony. Moreover, the Supreme Court has emphasized that

district courts “may conclude that there is simply too great an analytical gap between the data

and the opinion proffered” for the opinion to be admissible. General Elec. Co. v. Joiner, 522

U.S. 126, 146 (1997).16

        In Baker v. Urban Outfitters, Inc., 254 F.Supp.2d 346, 353 (S.D.N.Y. 2003), the Court

described the admissibility standards for proposed expert testimony in the Southern District:

                 The proponent of expert testimony bears the burden of establishing
                 its admissibility by a preponderance of the evidence. See, e.g.,
                 Cayuga Indian Nation v. Pataki, 83 F.Supp.2d 318, 322 (N.D.N.Y.
                 2000). Though the weight given to expert testimony should be left
                 to the finder of fact, expert testimony should be excluded
                 altogether if it is “speculative” or “conjectural” or if it is based on
                 assumptions “so unrealistic and contradictory as to suggest bad
                 faith.” See Boucher v. U.S. Suzuki Motor Corp., 73 F.3d 18, 21
                 (2d Cir. 1996).

Further, in deciding whether a step in an expert’s analysis is unreliable, “the district court should

undertake a rigorous examination of the facts on which the expert relies, the method by which

the expert draws an opinion from those facts, and how the expert applies the facts and methods to

the case at hand.” Arista Records LLC v. Usenet.com, Inc., 608 F.Supp.2d 409, 423 (S.D.N.Y.

2009) (citing Amorgianos v. Nat’l R.R. Passenger Corp., 303 F.3d 256, 267 (2d Cir. 2002)). It is

well settled that “when an expert opinion is based on data, methodology, or studies that are

simply inadequate to support the conclusions reached, Daubert and Rule 702 mandate the

        16
           Courts emphasize the importance of resisting “the temptation to answer objections to
receipt of expert testimony with the shorthand remark that the jury will give it the weight it
deserves.” Boucher v. Suzuki Motor Corp., 73 F.3d 18, 22 (2d Cir. 1995) (quoting Joy v. Bell
Helicopter Textron, 999 F.2d 549, 569 (D.D.C. 1993)).



845734 011082.0121                                 16
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 26 of 48




exclusion of that unreliable opinion testimony.” Celebrity Cruises, 434 F.Supp.2d at 178

(quoting Amorgianos, 303 F.3d at 266).

B.      Dr. Smith’s Opinions About The Reduction
        In The Value Of Life Should Be Excluded

        There are several reasons why the Court should exclude Dr. Smith’s opinions regarding

the RVL or “hedonic” damages. First, RVL damages have no applicability to the particular

Plaintiffs in this case. Second, even if such damages were applicable to these Plaintiffs, Dr.

Smith fails to articulate his methodology, or explain in any detail whatsoever, the basis for the

principal assumption he relies on in formulating his opinions – how he determined the value of a

statistical life. Third, while the “value of a statistical life” has found general acceptance by

economists for certain purposes, the use of such calculations to value a particular life for

purposes of determining compensatory damages has not found general acceptance. Dr. Smith’s

method for calculating RVL or hedonic damages lacks general acceptance and reliability as

required by Daubert. Finally, Dr. Smith is simply not an expert on the value of these Plaintiffs’

lives, and therefore, cannot be of any assistance to the trier of fact.

        1.       Reduced Value Of Life Is Irrelevant To A
                 Calculation Of Compensatory Damages

        In his reports, Dr. Smith goes to great lengths to defend calculations of the value of life.

In doing so, he cites numerous authorities. What Dr. Smith does not disclose, however, is that

calculating the value of an anonymous statistical life, which is what these authorities do, has

nothing to do with computing compensatory damages for actual people. Calculations of the

value of life have been often used for “assessing the costs and benefits of government

investments in safety and environmental protection.” See Exh. G (Expert Report of Dr.




845734 011082.0121                                17
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 27 of 48




Christopher Erath), at p. 10.17 Such calculations are used by the government to determine

whether certain safety precaution measures are cost-effective and necessary. They purport to

value a theoretical anonymous statistical person, and have no relevance to the actual people

involved in this case. They are not generally accepted for use in the valuation of any one

individual’s life for any purpose, let alone for the purpose of calculating compensatory damages

in Court.

        Dr. Smith’s list of supportive authorities is misleading. While these authorities may

support calculating the “value of life” for specific purposes – such as whether it makes economic

sense to impose a particular governmental health or safety regulation – they do not do so in the

context of valuing individual lives or in the context of calculating damages based on the reduced

value of such a life. Any suggestion to the contrary by Dr. Smith is tantamount to a

misrepresentation to the Court. Ayers v. Robinson, et al., 887 F. Supp. 1049, 1059-64 (N.D. Ill.

1995) (Dr. Smith’s methods described as, inter alia, “unreliable,” “not constitut[ing] a sound

study,” “[having] low probative value,” “[of] no use to a jury,” and “deceptive”). Indeed, W.K.

Viscusi, one of Dr. Smith’s most relied upon economists, confirms that Dr. Smith’s application

of value of life calculations to individuals is completely misplaced. See W.K. Viscusi, The

Econometric Basis for Estimates of the Value of Life, 3 J. Forensic Econ. (no. 3), 61, 69 (Fall

1999) (“it makes no more sense to utilize a uniform value-of-life figure for all people than it does

to assume that economic damages are the same for every wrongful death case”).

        Dr. Smith does not even make the attempt to bridge the analytical gap between his

statistical value of life estimates and each of the Plaintiffs’ actual lives. The reason why his
        17
          Dr. Smith’s reports state that the “underlying, academic, peer-reviewed studies fall
into two general groups: (1) consumer behavior and purchases of safety devices; (2) wage risk
premiums to works; in addition, there is a third group of studies consisting of cost-benefit
analyses of regulations.” See, e.g., Exh. D, p. 5.



845734 011082.0121                               18
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 28 of 48




reports are silent on the issue is because there is no relationship between his conclusions and the

Plaintiffs themselves. Dr. Smith’s valuation of the “value of life” does not account for a single

fact that is specific to any of the Plaintiffs’ lives. Based on his reports, he would have arrived at

the same conclusion even if he had known nothing about the Plaintiffs, other than their age and

the amount that they claim their quality of life was reduced. Gary Price Studios, Inc. v.

Randolph Rose Collection, Inc., No. 03 Civ. 969, 2006 WL 1319543, at *7 (S.D.N.Y. May 11,

2006) (court excluded expert testimony for having “too great an analytical gap between the data

and the opinion proffered”) (citations omitted).

        Indeed, federal courts nationwide have specifically recognized this as a flaw in Dr.

Smith’s methodology. Saia v. Sears Roebuck and Co., Inc., 47 F. Supp.2d 141, 148 (D.Mass.

1999) (holding that Dr. Smith’s methodology is unreliable because it does not take into account

any facts particular to plaintiff); Kurncz v. Honda North America, 166 F.R.D. 386, 390 (W.D.

Mich. 1996) (Dr. Smith’s valuation of statistical life is an “unhelpful” means for valuing

plaintiff’s life); Mercado v. Ahmed, 974 F.2d 863, 871 (7th Cir. 1992) (“we have serious doubts

about [Smith’s] assertion that the studies he relies upon actually measure how much Americans

value life”); Ayers, 887 F. Supp. at 1060 (“Whether sex or race (or both) matter to life fulfillment

is an interesting question, but one into which Hedonic Damages does not delve. Its authors'

representation that it has done so is grossly misleading”); Sullivan v. U.S. Gypsum Co., 862 F.

Supp. 317, 321 (D. Kan. 1994) (“[t]he studies relied upon by Mr. Smith do not use methodology

designed to calculate the loss of enjoyment of life, yet are nonetheless extrapolated by Mr. Smith

into what he claims to be valid data . . . .”); Livingston v. United States, 817 F.Supp. 601, 606

(E.D.N.C. 1993) (the values used by plaintiff’s expert for the “values of life and the pleasures of

life” were better characterized as “measuring the value of avoiding risk”).




845734 011082.0121                                 19
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 29 of 48




        Based on the foregoing, Dr. Smith’s analysis is nothing more than an apples-to-oranges

comparison, is entirely unreliable and should be excluded. E.g., Compania Embotelladora Del

Pacifico, S.A. v. Pepsi Cola Co., 650 F.Supp.2d 314, 318-319 (S.D.N.Y. 2009) (holding that in

determining whether expert evidence is reliable, a court must reject the expert’s testimony if it is

“based on assumptions that are so unrealistic and contradictory” that the testimony amounts, in

essence, to an “apples and oranges comparison”) (citing Boucher v. U.S. Suzuki Motor Corp., 73

F.3d 18, 21 (2d Cir.1996)) (internal quotations omitted).

        As the Court said in Ayers:

                 One other consideration, already touched upon, plays out for the
                 most part under Rule 403 and helps to explain why willingness-to-
                 pay methodology may be an appropriate guide for regulators but
                 not for courts and juries traversing the difficult terrain of valuing
                 life. Those two activities have very different foci: Regulators deal
                 in averages, while courts deal with specific cases. Thus a
                 statistical mean may have validity in the former context, while
                 at the same time it simply creates the already-mentioned
                 deceptive appearance of precision in the latter. 887 F. Supp. at
                 1064 (emphasis added)

        2.       Dr. Smith’s Methodology Of Calculating RVL Damages Is Unreliable

        Even if this Court were to determine that calculations with respect to the value of a

statistical, anonymous life are relevant to the Plaintiffs’ purported compensatory damages, the

manner in which Dr. Smith calculated such damages is entirely speculative and unreliable.

        First, although Dr. Smith’s reports spend a great deal of time defending the

“methodology,” he offers no real description of that methodology. At best, he explains the

premise of calculating the value of a statistical life but does not provide any details about how

such calculations were made. The Court must be able to examine the methodology to determine

its accuracy and credibility. Dr. Smith’s reports are big on conclusions but short on actual

methods. Park West Radiology, et al., v. Carecore Nat’l., LLC, et al., 675 F.Supp.2d 314, 328



845734 011082.0121                                20
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 30 of 48




(S.D.N.Y. 2009) (court excluded expert testimony, in part, because “it is hard to determine what

methodology or data, if any, Powell uses to form his conclusions . . . .”).

        Dr. Smith begins with the unsupported conclusion that each of the Plaintiffs’ lives has a

value of $4.2 million. Dr. Smith arrives at that conclusion without doing any independent

investigation, relying on a simple average that he generated over 20 years ago which produced a

statistical value of life from studies of the same issue done by others. Most of these other studies

adopt what is known as the “willingness to pay” (“WTP”) model, pursuant to which calculations

are made based on what people will pay for small reductions in safety risk. All Dr. Smith did in

the Plaintiffs’ reports is use a 20 year old derivation of other reports, and adjust it for inflation.

But Dr. Smith does not explain in any detail at all, how any of these other WTP studies arrived at

their respective valuations. His methodology appears to rely on an average of 47 studies that

was reported by T.R. Miller in his article entitled “The Plausible Range for the Value of Life –

Red Herrings Among the Mackerel.” T.R. Miller, The Plausible Range for the Value of Life –

Red Herrings Among the Mackerel, 3 J. Forensic Econ. (no. 3), 17-39 (Fall 1990). That

methodology, however, has been soundly rejected

                 . . . Plausible Range takes 67 willingness-to-pay studies conducted
                 between 1969 and 1990, makes a number of so-called
                 “adjustments” and concludes that the value of a statistical life is
                 between $1.5 and $3.5 million . . . . Any objective reader can
                 recognize the methodology as one that has made whatever
                 adjustments were necessary to bring the raw data within the target
                 range. Adding, subtracting, multiplying and dividing with a
                 predetermined result in mind cannot be fairly labeled science.

Ayers, 887 F.Supp. at 1060-61.




845734 011082.0121                                 21
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 31 of 48




        Dr. Smith’s analysis is nothing more than a compromise of other people’s wide ranging

analyses, which he misleadingly portrays as a precise number.18 This methodology has also been

sharply criticized. Ayers, 887 F.Supp. at 1063 (“it is frankly bogus to massage those numbers, as

both Hedonic Damages and Plausible Result have done, to create a deceptive appearance of

precision rather than the true picture of an enormous spread in ‘value.’ That is both fatal in Rule

702 terms and a basis for exclusion under Rule 403’s balancing test.”).

        After Dr. Smith “calculated” the value of each Plaintiff’s life, he appears to calculate the

reduction in value of such life by assigning “impairment ratings” which are specific to each

Plaintiff. The impairment ratings, however, are based solely on the Plaintiffs’ own biased

assessments. That too undermines Dr. Smith’s opinion because it is well settled in this District

that an expert witness may not solely rely on information provided to him/her from the party that

has retained their services.

        In Arista Records, the expert “offered opinions about the capacity and capabilities of

Defendants’ server and software, . . . by simply accepting what Defendant Reynolds told him.”

608 F.Supp.2d at 424 (emphasis added). The Court struck that testimony from the expert’s

report, holding, “it is well settled that an expert who simply regurgitates what a party has told

him provides no assistance to the trier of fact through the application of specialized knowledge.”

Id. at 425. See also Robinson v. Sanctuary Record Groups, Ltd., 542 F.Supp.2d 284, 292

(S.D.N.Y. 2008) (excluding expert testimony regarding damages, the Court held, “[the expert’s]

methodology is founded on hearsay supplied by Plaintiffs’ counsel-hardly a source of first-hand,
        18
           In the Appendices to his Reports, Dr. Smith writes: “The actual value that I use, $4.1
[sic] million . . . was originally based on a review conducted in the late 1980s averaging the
results published by that time. I have increased that late 1980s value only by inflation over
time.” See, e.g., Exh. D (Lim), at p. 12 (emphasis added). In fact, Dr. Smith used a $4.2 million
figure in all of his reports in this case, raising even more questions as to their reliability, and
further undermining their validity.



845734 011082.0121                               22
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 32 of 48




independent expert knowledge- incomplete comparisons, and dubious assumptions”); rev’d on

other grounds, Nos. 08-2078-cv, 08-2320-cv, 08-2333-cv, 2010 WL 2649849 (2d Cir. July 1,

2010); Rowe Entertainment, Inc., et al. v. The William Morris Agency, Inc., et al., No. 98 CIV

8272 2003 WL 22124991, at *3 (S.D.N.Y. Sept. 15, 2003) (“[a]ny expert should be aware that a

party and counsel in litigation have an interest in the outcome and that an expert study should not

be dependent on the information they supply”) (citing Supply & Building Co. v Estee Lauder

Int’l, Inc., 95 CIV. 8136, 2001 WL 1602976, at *4 (S.D.N.Y. Dec. 14, 2001)).

        Under Daubert, two of the key factors for determining relevance and reliability are:

(i) whether the theory has been tested; and (ii) whether it has been generally accepted within the

scientific community. Neither of those elements is satisfied here. 509 U.S. at 589.

                 (i)   No Acceptance In The Scientific Community

        Dr. Smith’s reports go to great lengths to defend his methods of calculating RVL

damages. He does so because Judges in both federal and state courts throughout the country

have written opinions specifically rejecting his methodologies and opinions. Mercado, 974 F.2d

at 869-71; Saia, 47 F. Supp.2d at 148-49 (finding Dr. Smith's hedonic damages testimony

inadmissible because his calculations are untestable and the theory does not meet the

requirement of general acceptability); Ayers, 887 F. Supp. at 1059-64 (described Dr. Smith’s

methods, inter alia, as “unreliable,” “not constitut[ing] a sound study,” “[having] low probative

value,” “[of] no use to a jury,” and “deceptive”).19


        19
           See also, Brereton v. United States, 973 F. Supp. 752, 758 (E.D. Mich. 1997) (finding
Dr. Smith’s calculations of hedonic damages unreliable under Daubert); Crespo v. City of
Chicago, No. 96 C 2787, 1997 WL 537343, at *2-*3 (N.D. Ill., Aug 22., 1997) (excluding Dr.
Smith’s hedonic damages testimony due to lack of unanimity among economists as to which life
valuation studies ought to be considered) (citing Mercado v. Ahmed, 756 F. Supp. 1097 (N.D. Ill.
1991)); Kurncz, 166 F.R.D. at 388-91 (finding Dr. Smith's hedonic damages testimony
inadmissible under Daubert); Sullivan, 862 F. Supp. at 321 (“the court does not believe that the
testimony [of Mr. Smith] is scientifically valid, nor would it assist the trier of fact to understand


845734 011082.0121                               23
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 33 of 48




        Separate and apart from cases involving Dr. Smith’s specific methods, the calculation of

hedonic damages, generally, has been routinely rejected by both federal and state courts

throughout the country as well. McMullin v. United States, 515 F.Supp.2d 914, 928 (E.D. Ark.

2007); Martinez v. Caterpillar, Inc., Civ. No. 06-236, 2007 WL 5377515 (D.N.M. Sept. 6,

2007); Harris and Lee v. United States, Civ. No. 06-0412, 2007 WL 4618597 (D.N.M. June 7,

2007); Anderson v. Hale, No. CIV-02-0113, 2002 WL 32026151 (W.D. Okla. Nov. 4, 2002);

DuBose v. City of San Diego, No. 99cv2279-L, 2002 WL 34408963 (S.D. Cal. Oct. 1, 2002);

McGuire v. Santa Fe, 954 F.Supp. 230 (D.N.M. 1996); Hein v. Merck & Co., 868 F. Supp. 230,

235 (M.D. Tenn. 1994) (rejecting hedonic damages testimony as insufficiently reliable or valid

to meet the requirements of Daubert); Livingston v. United States, 817 F.Supp. 601 (E.D.N.C.

1993); Craft v. Matlack, Inc., Civ. A. No. 91-2465, 1992 WL 124406 (E.D. La. May 26, 1992);

Scharrel v. Wal-Mart Stores, 949 P.2d 89 (Colo. App. 1997); Montalvo v. Lapez, 884 P.2d 345

(Hawaii 1994); Wilt v. Buracker, 443 S.E.2d 196, 205 (W. Va. 1993), (“[t]he majority of

jurisdictions that have addressed whether expert testimony based upon willingness-to-pay studies



the evidence or determine a fact at issue”); Doe v. Tag, Inc., No. 92 C 7661, 1993 WL 484212, at
*2-*3 (N.D. Ill Nov. 18, 1993); Bramlette v. Hyundai Motor Co., No. 91 C 3635, 1992 WL
213956, at *3-*7 (N.D. Ill., Aug. 28, 1992); Buckhalter v. Burlington Northern, Civ. A. No.
EC90-139-D-D, 1992 WL 236676, at *1-*2 (N.D. Miss. Mar. 23, 1992); Mercado v. Ahmed, et
al., 756 F.Supp. 1097, 1102-03 (N.D. Ill. 1991); Davis v. ROCOR International, 226 F.Supp.2d
839, 842 (S.D. Miss 2002); Birdsell v. Bd. of Fire and Police Comm’rs, No. 85-3371, 1990 U.S.
Dist. LEXIS 14961, at *3 (C.D. Ill., Oct. 16, 1990); Loth v. Truck-A-Way Corp., 60 Cal. App. 4th
757, 760 (Cal. Ct. App. 1998) (“We conclude [that Smith’s] testimony on hedonic damages was
inadmissible as a matter of law and its admission was prejudicial.”); Talle v. Nebraska Dep’t
Social Serv., 541 N.W.2d 30 (Neb. 1995) (holding that lower court erred in admitting Dr.
Smith’s testimony on hedonic damages); Anderson v. Neb. Dep’t of Soc. Servs., 248 Neb 651,
668-71 (Neb. 1995) (same); Chustz v. J.B. Hunt Transp., Inc., 659 So. 2d 784 (La. App. 1 1995)
(excluded Smith’s testimony on hedonic damages); Longman v. Allstate Insurance Co., 635 So.
2d 343 (La. App. 4 Cir. 1994); Patch v. Glover, 618 N.E.2d 583 (Ill. App. Ct. 1993); South Lake
Limousine and Coach, Inc. v. Brock, 578 N.E.2d 677 (Ind. Ct. App. 1991); Fetzer v. Wood, 569
N.E.2d 1237 (Ill. App. 2d 1991).



845734 011082.0121                             24
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 34 of 48




is relevant to one’s loss of enjoyment of life have concluded that such testimony is

inadmissible”); Foster v. Trafalgar, 603 So. 2d 284 (La. App. 2d 1992).

        In addition to well established judicial precedent rejecting Dr. Smith’s approach, many

economists question Dr. Smith’s methods, further indicating that they are not generally accepted.

The “list of economists who have, in one way or another, criticized this misapplication [of

hedonic damages] reads like a professional Who’s Who[.]” Thomas Havrilesky, The

Misapplication of the Hedonic Damages Concept to Wrongful Death and Personal Injury

Litigation, 6 J. Forensic Econ. 93 (1993).

        Dr. Erath’s report discusses at length the lack of general acceptance of Dr. Smith’s

methodology as applied to the Courtroom. Dr. Erath concludes that Dr. Smith's claim that his

"value of life" methodology has been generally accepted among economists is inaccurate and

misleading.

                 It is certainly true that the "value of life" literature is well-
                 established within economics … in examining the compensation
                 necessary to accept a small incremental risk. Dr. Smith's
                 methodology, which attempts to transform the compensation
                 necessary to accept a small incremental risk to the value of the
                 ability to lead a normal life, is not. He mischaracterizes the
                 literature by writing that his estimate is based on "what we, as a
                 contemporary society, actually pay to preserve the ability to lead a
                 normal life." In fact, the studies examine the amounts individuals
                 are willing to pay to accept a small increase in a perceived risk of
                 death.

Exh. G, p. 11.

                 (ii)   Dr. Smith’s Methods Cannot Be Tested.

        As described, Dr. Smith’s calculation of RVL damages is based on the following: (i) a

statistical value of life calculated over 20 years ago based on other WTP studies for which Dr.

Smith provides no explanation; (ii) an impairment rating which is entirely based on the

subjective bias of the Plaintiffs; and (iii) an estimated life span which fails to take into account


845734 011082.0121                                25
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 35 of 48




any facts peculiar to the individual Plaintiffs in this case. Such methodology cannot be

adequately tested.

        First, Dr. Smith’s method is not testable because it is based on other studies whose

conclusions are widely varied. See Saia, 47 F.Supp.2d at 148 (“there is significant reason to

doubt the testability of hedonic damage calculations based on Dr. Smith’s willingness-to-pay

models”); Kurncz, 166 F.R.D. at 389-90 (courts must consider high rate of error as various WTP

valuations vary between $100,00 and $12 million); Hein, 868 F.Supp. at 232 (no retrospective

validation of valuation of hedonic damages possible). Furthermore, because Dr. Smith’s method

is entirely based on one random, unexplained assumption after another, it is simply

unpredictable, uncontrolled and thus, impossible to be tested. Campania, 650 F.Supp.2d at 321;

Arista Records, 608 F. Supp. 2d at 423 (holding that expert testimony should be excluded if

speculative or conjectural); Celebrity Cruises, 434 F.Supp.2d at 187 (rejecting expert’s opinion

of lost enterprise value because each component of his calculation was flawed). Finally, Dr.

Smith himself admitted that his methods cannot be tested. Saia, 47 F.Supp.2d at 149 (“Indeed,

in the case at bar, Dr. Smith acknowledges that his theories cannot be tested . . .”). As such, it

fails to satisfy the standard set forth by Daubert.20



        20
           Smith asserts that “it is important to note that this methodology is endorsed and
employed by the U.S. Government as the standard and recommended approach for use by all
U.S. Agencies in valuing life for policy purposes, as mandated in current and past Presidential
Executive Orders in effect since 1972, and as discussed in ‘Report to Congress on the Costs and
Benefits of Federal Regulations,’ Office of Management and Budget, 1998, and ‘Economic
Analysis of Federal Regulations Under Executive Order 12866,’ Executive Office of the
President, Office of Management and Budget, pp. 1-37…[et al].” See, e.g., Exh. D (Lim
Report), p. 11. Smith, however, misrepresents the government’s position on hedonic damages,
as the government too has opposed the methodology. See W. Kip Viscusi, Misuses and Proper
Uses of Hedonic Values of Life in Legal Contexts, 13 J. Forensic Econ. 111, 118 (2000) (Misuses
and Proper Uses) (“It is consequently incorrect to state, as some hedonic damage experts have
done, that the adopting of hedonic values simply follows governmental practice. The
government’s use of these values is quite specific and not for purposes of setting compensation


845734 011082.0121                                26
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 36 of 48




        3.       Dr. Smith’s Opinions Should Be Excluded
                 Because He Is Not An Expert In The “Value Of Life”

        The purpose of expert witness testimony is to assist the trier of fact utilizing his/her

unique expertise. As such, “a witness who knows no more than the average person is not an

expert.” Mercado, 974 F.2d at 870. What is absent from Dr. Smith’s reports is an explanation of

why he knows better than the average juror, what a life is worth. The answer is absent from his

reports because he does not know better than the average juror what a life is worth. Id. at 871.

Indeed, the studies on which he relies have been criticized as deficient because they, inter alia,

ignore other influences that might impact an individual’s decision, including the marketing or

affordability of a particular safety measure. Id.; Sullivan, 862 F.Supp at 321 (holding that Dr.

Smith’s methodologies had no relevance to the individual plaintiffs); Kurncz, 166 F.R.D. at 390

(“While the statistical approach may be useful for writing regulations, courts have found it rather

‘callous and unhelpful’ for jurors assessing individual lives. . . . Mr. Smith’s method is nothing

more than a compilation of lay responses”) (citation omitted). Accordingly, since Dr. Smith is

not an expert on the value of the Plaintiffs’ lives, or any individual life, his opinion cannot assist

the trier of fact and should be excluded.

C.      Dr. Smith’s Testimony Regarding Plaintiff Russ’
        Loss Of Business Profits Is Unreliable And Inadmissible

        In his report on Plaintiff Russ, Dr. Smith merely adopts the projection of lost business

profits given by Russ himself, without any further expert analysis. See Exh. C, p. 3. This fact

renders Dr. Smith’s opinion concerning loss of business profits inherently unreliable. Arista




levels.”); W. Kip Viscusi, The Flawed Hedonic Damages Measure of Compensation for
Wrongful Death and Personal Injury, 20(2) J. Forensic Econ. 113, 117-118 (2007) (Flawed
Hedonic Damages).



845734 011082.0121                                27
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 37 of 48




Records, 608 F.Supp.2d at 424; Robinson, 542 F.Supp.2d at 292; Rowe, 2003 WL 22124991, at

*3.

        Dr. Smith’s report is premised on the following assumptions: (i) that Russ owns a check

cashing business that in 2009 yielded him a net business income of approximately $399,000; (ii)

while he was being sued by Northern Leasing, Russ had the opportunity to purchase three check

cashing locations from a competitor but was unable to do so because the landlord would not

approve the transactions as a result of Plaintiff Russ’ credit problems; (iii) Russ’ better earning

store locations make a profit of approximately $72,000 a year; (iv) two of the three “lost” stores

would have generated at least $72,000 a year in profit, and the third store would have generated

$25,000 of profit annually; and (v) the loss of business opportunity began on January 1, 2007.

Id. Every single one of these factual assumptions is based entirely on hearsay statements

provided by the Plaintiff to Dr. Smith's assistant during a telephone interview. Not a single one

was verified by any supporting documentary evidence – no such supporting evidence was either

provided to the expert or produced in discovery -- making them entirely speculative. Ashland

Management, Inc. v Janien, 82 N.Y.2d 395, 403 (1993) (under New York law, loss of profits

must be proved with reasonable certainty, and may not be based on speculation).

        Incredibly, Dr. Smith’s analysis of lost profit improperly fails to take into consideration

the amount of money that Mr. Russ would have had to pay to acquire the three stores. See Exh.

G (Erath Report), p. 6. In other words, his opinion of lost profit assumes that the three business,

which were supposedly able to generate $169,000 in profit each year, were going to be given to

him for nothing. At his deposition, Dr. Smith attempted to avoid this obvious flaw in his

“analysis” by claiming that his opinion deals with lost cash flow, and not lost profits. Exh. F, p.




845734 011082.0121                               28
         Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 38 of 48




113-114. If we take Dr. Smith at his word,21 then his opinion does not even purport to address

the actual loss of business profits in this case, and his opinion should be excluded for that reason

alone.

         It goes without saying that no business seller would sell three businesses that were

generating $169,000 in annual pre-tax profit, for $0. Because Dr. Smith concedes that he did not

take the cost of acquisition into consideration, Dr. Smith’ opinion is exposed as being completely

unreliable as a measure of lost business profits. Robinson, 542 F.Supp.2d at 291 (expert

testimony excluded, because, among other things, expert did not account for costs and expenses

that plaintiff would have incurred but for defendants’ actions).

         The lack of reliability of Dr. Smith’s opinion as to lost business profits is further

demonstrated by the flawed methodology that he used. He simply accepted what Russ told him

about what the annual profit of the three stores might be and put it in his report, without any

critical analysis at all. Dr. Smith’s opinion was rendered without reviewing a single piece of

documentary evidence as to the profitability of Mr. Russ’ existing stores, or of the past

profitability of the stores that he was supposedly going to acquire. Although he conceded at his

deposition that, as an economist, he would want to review “all the documents of the business” in

evaluating a potential business acquisition (Exh. F, p. 111), he rendered his opinion without the

benefit of any documents. Id. He simply accepted Mr. Russ’ statement that the stores would

have generated $169,000 per year in profit, and then did a calculation of how much cash flow

Mr. Russ would have “earned” on this potential acquisition – without any consideration of the

associated costs – over the course of his remaining 28 year life expectancy.



         21
           “I evaluated the cash flow of this business, I didn’t need to know what he paid.” Exh.
F, p. 113:11-12))



845734 011082.0121                                 29
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 39 of 48




        It is inconceivable that an opinion that was arrived at using such flawed methodology,

and that is so saturated with false assumptions and analytical gaps, could assist the trier of fact in

any way whatsoever. This type of opinion is based solely on Dr. Smith’s pedigree, lacks

probative value, and is inherently misleading of the jury and prejudicial. This Court should

exercise its gatekeeping function to exclude Dr. Smith’s opinion as to Russ’ alleged damages for

“loss of business profits.” See e.g. Boucher, 73 F.3d at 22 (holding that expert testimony that

was not accompanied by sufficient foundation should have been excluded).

        1.       Dr. Smith’s Methodology For Determining
                 Lost Business Profits Has Not Been Tested

        Dr. Smith’s methodology for determining “lost business profits” appears to be as follows:

(i) accept rough estimates of future profitability from the plaintiff, a non-expert interested party,

without any corroboration (including a single projection or tax return), or any analysis of the

underlying transactions; (ii) apply an arbitrary steady 3% growth rate that also has no connection

to the underlying business; and (iii) assume no costs for the transaction. Plaintiffs cannot

possibly claim that such a method has any scientific basis that has either been tested or generally

accepted, as required by Daubert, 509 U.S. at 593 (“Scientific methodology today is based on

generating hypotheses and testing them to see if they can be falsified; indeed, this methodology

is what distinguishes science from other fields.”). Accordingly, Dr. Smith’s opinion should be

excluded for failing to use a methodology that is testable, recognized or generally accepted. Id.

at 593-94.

D.      Dr. Smith’s Opinions On Lost Credit
        Expectancy (“LCE”) Should Be Excluded

        Dr. Smith’s “method” for determining LCE damages is based on so many unfounded and

inaccurate assumptions that it is impossible for it to serve as a reliable source of information to

the trier of fact.


845734 011082.0121                               30
         Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 40 of 48




         Dr. Smith’s analysis begins with the unfounded presumption that there is a value of credit

expectancy irrespective of whether that credit was actually used. Therefore, according to Dr.

Smith, even if someone had no idea that their credit score was impaired during a certain period

of time, and never sought to utilize any such alleged available credit during that time (e.g. they

did not need or try to borrow money), that individual was nevertheless damaged. Dr. Smith does

not explain how such a person would be damaged but rather makes the absurd analogy that the

ability to borrow is akin to a safety net for a trapeze artist and thus, has value upon which

damages can be based. Therefore, according to Dr. Smith, the Plaintiffs are entitled to monetary

damages even in the absence of an actual loss. That approach is contrary to the requirements of

the statutes at issue, and is belied by common sense and is completely unsubstantiated by Dr.

Smith.

         Dr. Smith’s calculations are based on faulty, inaccurate and speculative assumptions.

First, for each Plaintiff, he opines that he/she had a certain amount of credit availability based on

little more than what they claimed to be earning at a given point in time. For example, for

Gordon Redner, who apparently told Dr. Smith's staff that he "admits to having credit problems

in the past, and to not really using credit cards much," (Exh. A, at p.4), Smith nonetheless opines

that Mr. Redner had “the ability to borrow considerable sums beyond his current lines of credit”,

which he estimates to be at least $10,000. Dr. Smith's report gives no explanation as to what

methodology he used to arrive at that estimate, and provides no information or data to support

that figure, which appears to be pulled out of thin air. He does not purport to know how

leveraged each Plaintiff is or was during the time in question. Nor does he purport to know how

much each Plaintiff has in the way of unencumbered assets. Therefore, the entire starting point

for his calculation—the Plaintiff’s credit availability—is completely speculative and lacks even a




845734 011082.0121                               31
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 41 of 48




shred of factual support. For this reason alone, his opinion should be excluded. Celebrity

Cruises, 434 F.Supp. 2d at 186 (“[a] methodology so sensitive to one highly subjective variable

lacks the necessary reliability”).

        After speculating about each Plaintiff’s credit availability, Dr. Smith computes the

damages by further assuming that the Plaintiff would have to borrow funds at an interest rate of

25% instead of 12%. Yet he provides no explanation as to the methodology he followed to

arrive at these particular interest rates. Are these credit card rates? Why did he choose these

rates as opposed to home mortgage rates, which are demonstrably lower? Incredibly, he assumes

the same interest rates for all of the Plaintiffs, without explaining why, and without providing

any information or data to support those figures. He does not refer to the Plaintiffs’ credit

histories, outstanding debts, income, assets or liabilities. Accordingly, Dr. Smith’s methodology

of assigning random credit availabilities and interest rates to the Plaintiffs in determining their

alleged damages falls beyond any possible scope of credibility. Accordingly, his opinions on

these damages should be excluded. Id.

        In addition, to the extent that any of the Plaintiffs specifically alleged that their credit

score was impaired, Dr. Smith assumes, without corroboration, that there is a nexus between the

impaired credit score and the alleged actions by Northern Leasing. Yet, Dr. Smith offers no

support for such speculation. His reports are silent as to the Plaintiffs’ credit histories and

financial condition for all of the times in question, which may have been responsible for any

impaired credit. Compare Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 458-459 (2006).

Solely relying on the hearsay statements of the Plaintiffs renders his reports both unreliable and

speculative. Arista Records, 608 F.Supp.2d at 424; Robinson, 542 F.Supp.2d at 292; Rowe, 2003

WL 22124991, at *3.




845734 011082.0121                                 32
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 42 of 48




        Moreover, for some of the Plaintiffs, Dr. Smith made additional assumptions in

calculating damages that are also entirely speculative and unsubstantiated. Dr. Smith further

speculates that Lim would have had a credit availability of at least $200,000. Exh. D, p. 4. He

bases this conclusion on the unsubstantiated assertion by Lim that he was previously able to

obtain a mortgage of $165,000 and earned approximately $55,000 per year. Id. Dr. Smith,

however, again did nothing to show the reasonable basis for his conclusion, or to corroborate

Lim’s claims regarding his mortgage and income, notwithstanding the fact that such information

should have been readily available. Furthermore, taking Lim’s assertions at face value, there are

still no facts that disclose when Mr. Lim obtained his mortgage, what the terms of that mortgage

were, and what his credit availability was at that time. To suggest that just because at one

unknown point in time Mr. Lim says that he was able to obtain a $165,000 mortgage, his credit

and income will be the same or better for the rest of his life is absurd. But Dr. Smith’s opinion

relies on that very absurd assumption. Furthermore, notwithstanding the fact that his own report

reveals that Mr. Lim does not even claim that he was injured by any impact on his credit until

2004 or 2005 (when Mr. Lim allegedly tried to refinance his home mortgage and obtain credit

cards), Dr. Smith, without explanation, calculates Mr. Lim’s damages beginning in 2001. Id. at

3-4. Finally, it is unclear why Dr. Smith would not compute the damages, at least partially,

based on mortgage rates at the time of the failed refinancing. Instead, he applies an interest rate

calculation that has no bearing to the real estate market in 2004 or 2005. Id. at 4. As such, Dr.

Smith is comparing apples to oranges which provides no value to the trier of fact.22 Baker, 254




        22
            As evidenced by Dr. Smith’s opinion regarding Plaintiff Smith’s damages arising from
the “additional cost of mortgage,” Dr. Smith understands that computing damages with respect to
a failed refinancing using non-mortgage interest rates, is nonsensical.



845734 011082.0121                               33
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 43 of 48




F.Supp.2d at 384 (court rejected expert’s opinion, in part, because it relies on an irrelevant

comparison of two different types of damages).

        Dr. Smith’s report for Serin is mired in additional false and misleading assumptions. Dr.

Smith concludes that Plaintiff Serin’s available credit was $150,000 because of her income of

$45,000 (which was not verified), and because of her “intent to purchase a condo and obtain

credit cards.” Exh. B, p. 3. To accept the validity of Dr. Smith’s methodology would require

accepting the absurd premise that an individual’s credit availability is dictated by how much the

individual wants to spend, irrespective of their credit worthiness. If that were true, no one would

ever be denied a loan, and every Plaintiff could enhance Dr. Smith's calculation of lost credit

expectancy through the simple expedient of saying that he or she wanted to buy a really big

house and a really expensive car.23 No bona fide expert would follow such inherently unreliable

methodology in giving an "expert" opinion. It is thus not surprising that Dr. Smith’s report is

silent as to its general acceptance among economists.

        Finally, for Plaintiff Russ, Dr. Smith assumes a credit availability of $325,000 solely

based on a 2004 credit report. Exh. C, p. 4. Dr. Smith fails to explain how a credit report for

June 1, 2004 is indicative of anything other than an individual’s credit score as of June 1, 2004,

let alone credit availability for the entire four year period of November 1, 2002 through

December 31, 2006. In order to arrive at his conclusion, Dr. Smith would have had to speculate

that Plaintiff Russ’ credit report did not change during that four year period. Yet, Dr. Smith

provides no basis for such speculation. As a result, his report and testimony with respect to

Plaintiff Russ’ damages for loss of credit expectancy should be excluded. Arista Records, 608

F.Supp.2d at 409 (holding that expert testimony should be excluded if speculative); Compania,


        23
             Dr. Smith also made the same absurd assumption in the Lim Report. Exh. D, p. 4.



845734 011082.0121                               34
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 44 of 48




650 F.Supp.2d at 321 (“without any reliable basis for Searles’ opinions, and in the face of

analysis that is built upon one baseless, flawed assumption after another, PepsiCo’s motion to

exclude Searles’ opinion and testimony is granted”); Gary Price Studios, 2006 WL 1319543 at

*7 (“there is simply too great an analytical gap between the data and the opinion proffered,

which is to say, Zumwalt’s methodology is simply inadequate to support the conclusions

reached. In that circumstance, Daubert and Rule 702 mandate the exclusion of the unreliable

testimony”) (quoting Nimely v. City of New York, 414 F.3d 381, 396-97) (internal quotations

omitted).

E.      Dr. Smith’s Calculations As To Plaintiff Smith’s
        “Additional Cost of Mortgage” Should Be Excluded

        Dr. Smith renders an opinion regarding damages that Plaintiff Smith allegedly incurred as

a result of his inability to refinance his mortgage in May 2010. Exh. E, p. 3. Dr. Smith’s

opinion, however, merely repeats the conclusions given to him by Mr. Smith, without any

independent analysis or examination of the facts.

        Dr. Smith asserts that Mr. Smith was denied the opportunity to refinance his mortgage

“because of negative reporting on the part of Northern Leasing on his credit report.” Id. Dr.

Smith's report provides no support for that statement, and he does not claim to have based it on

any documentary evidence that he reviewed. He doesn't claim to have seen Mr. Smith's existing

mortgage, or any document reflecting an attempt to refinance, much less a denial of that attempt,

or the reasons for such denial. Plaintiff Smith may have been denied the opportunity to refinance

his mortgage for any one of a number of reasons, including a lower credit score or a general

tightening of mortgage criteria caused by the recent financial crisis. But that is hardly conclusive

that such denial is attributable to Northern Leasing. Nevertheless, Dr. Smith arrives at that

conclusion without reviewing a single document in connection with the failed attempt to



845734 011082.0121                              35
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 45 of 48




refinance. Id. at 1. Nor did Dr. Smith review any documentation with respect Mr. Smith’s

current credit status. Id. While Mr. Smith may have had a 781 credit score in 2002, his

attempted refinance did not occur until nearly eight years later. A lot can happen in eight years

that could have adversely impacted Plaintiff Smith’s credit worthiness independent of any action

on the part of Northern Leasing. Blindly relying on the hearsay statements of the Plaintiff is not

a proper basis for an expert opinion. Arista Records, 608 F.Supp.2d at 424; Robinson, 542

F.Supp.2d at 292; Rowe, 2003 WL 22124991, at *3. And causation by factors other than a RICO

violation precludes recovery under RICO. Anza, 547 U.S. at 458-459.

        Dr. Smith’s report is also speculative because it assumes that Mr. Smith will never be

able to refinance his mortgage at an interest rate below his current interest rate of 5.5%.

Incredibly, Dr. Smith arrives at that conclusion without any understanding of Mr. Smith’s credit

history, other than his credit score from over eight years ago. Moreover, he does not purport to

know whether Mr. Smith’s credit score continues to be impaired such that if he attempted to

refinance his mortgage today, he would still not be able to secure a better interest rate. Finally,

even if Mr. Smith’s credit score remains affected, the only way he would be entitled damages is

if Mr. Smith is successful in establishing that Northern Leasing improperly impaired his credit in

a manner that is in violation of RICO. Dr. Smith renders no opinion on why the jury should

assume that the interest rates will, at the very least, never be less than 5.5% for the rest of Mr.

Smith’s life. There are simply too many analytical gaps, and too little substantive information,

on which Dr. Smith bases his opinion. Therefore, his testimony and report ought to be excluded.

Compania, 650 F.Supp.2d at 321; Gary Price Studios, Inc., 2006 WL 1319543 at *7.




845734 011082.0121                                36
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 46 of 48




F.      Dr. Smith’s Opinions As To Loss Of Time Spent Should Be Excluded

        In Dr. Smith’s expert reports for Redner, Serin, Russ, Lim and Smith, Dr. Smith reports

that they incurred damages for lost time spent.24 See Exh. A, p. 2-3; Exh. B, p. 2-3; Exh. C, p. 2-

3; Exh. D, pp. 2-3; Exh., p. 2. For each of those Plaintiffs, his analysis includes: (i)

uncorroborated estimates of time spent by the Plaintiffs resisting the Defendants’ alleged actions,

and (ii) a calculation that consists of multiplying the alleged number of hours lost by an hourly

wage derived from the “median wages of the average of Office Clerks and Payroll and

Timekeeping Clerks” for the state in which the Plaintiff resides.

        Daubert and Rule 702 require the exclusion of opinion testimony when it is based on

information that is inadequate to support the conclusions reached. See e.g. Celebrity Cruises,

Inc., 434 F.Supp.2d at 176 (citations omitted). Under that standard, Dr. Smith’s assessment of

the Plaintiffs’ loss of time spent should be excluded. First, Dr. Smith failed to investigate

whether any of the Plaintiffs actually lost any income as a result of the alleged time spent.

Therefore, Dr. Smith’s opinion is either pure speculation or premised on the unsupportable

position that damages should be awarded even where there is no apparent injury.

        Moreover, Dr. Smith blatantly ignored each Plaintiff’s actual income (or lack thereof)

which should have been easily determinable by reviewing their tax returns, and substituted it

with an arbitrary wage amount for “Office Clerks and Payroll and Timekeeping Clerks.” As

noted above, this methodology is based on what Dr. Smith believes it would have cost the

Plaintiffs to hire a clerk to address Defendants’ actions. His methodology therefore bears

absolutely no relation to any loss allegedly actually suffered by the Plaintiffs. Indeed, Dr. Smith

went so far as to describe the Plaintiffs’ actual occupations as “irrelevant.” Exh. F, p. 84. Such

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        Smith’s “Loss of Time Spent” for Mr. Russ and Ms. Serin includes “Out-of-Pocket
Expenses” as well, discussed infra.



845734 011082.0121                                37
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 47 of 48




inexplicable methodology renders his opinion completely unreliable and wholly lacking as an aid

to the jury. Boucher, 73 F.3d at 21-22 (expert testimony regarding lost earnings should have

been excluded for lacking sufficient factual foundation because the opinion was based on

assumptions that contradicted Plaintiff’s actual employment history).25

G.      Dr. Smith’s Opinion About The Loss Of Payments
        Made To Northern Leasing Should Be Stricken

        In Dr. Smith’s expert reports for Plaintiffs Russ, Redner, and Lim, Dr. Smith reports that

they paid $9,247.00, $230.24, and $189 respectively to Northern Leasing. See Russ Report, p. 2;

Redner Report, pp. 2-3; Lim Report, p. 2. There is no independent analysis or verification,

however, of these numbers. It is unclear what exactly Dr. Smith’s analysis brings to the table

other than basic arithmetic. This “expert testimony” is simply a regurgitation of what these

persons told Dr. Smith, and lacks the required “scientific, technical, or other specialized

knowledge” that will assist the trier of fact to understand the evidence. Fed. R. Evid. 702.

Because Dr. Smith merely relied on the hearsay statements of the Plaintiffs without verifying or

corroborating any information at all, his conclusion as to this should be excluded. Arista



        25
           Dr. Smith’s report for Serin demonstrates the specious nature of his “methodology.”
According to Dr. Smith’s report for Serin: (i) Serin first learned about Northern Leasing while
she was in college at UCLA in 2002; (ii) in 2003, she moved to Washington D.C. “working part-
time doing technical support and getting her Master’s degree in political management;” and (iii)
she allegedly spent between 100 and 200 hours addressing the Defendants’ alleged actions. Exh.
B, p. 2. Notwithstanding those assertions in his own report, Dr. Smith calculates Serin’s
damages by using the median wages of the Office Clerks and Payroll and Timekeeping Clerks in
Washington D.C. and assumes that 30 hours were spent each year from 2002 through 2006. Id.
at 3. Therefore, Dr. Smith ignored the fact that in 2002 Plaintiff Serin was a student in
California and apparently not earning any wages. He also assumes, without any support, that
Plaintiff Serin spent an equal amount of time each year addressing the Defendants’ alleged
actions. Furthermore, in addition to ignoring the fact that while in Washington D.C., Plaintiff
Serin was not working full-time, Dr. Smith inexplicably ignores her actual vocation and instead
ascribes to her damages an arbitrary, statistical median wage for a job that has no connection to
Plaintiff Serin’s actual known employment history.



845734 011082.0121                               38
       Case 7:06-cv-01625-JSG Document 130-9 Filed 11/03/10 Page 48 of 48




Records, 608 F.Supp.2d at 424; Robinson, 542 F.Supp.2d at 292; Rowe, 2003 WL 22124991, at

*3.

                                           CONCLUSION

        For the foregoing reasons, we respectfully request that all of Dr. Smith’s opinions be

excluded with respect to all Plaintiffs.

Dated: New York, New York
       November 3, 2010

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845734 011082.0121                              39
